

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-6,031-11






JACK LUCIOUS, JR. , Relator


v.


HARRIS DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. 579201-H IN THE 177th JUDICIAL DISTRICT COURT

FROM HARRIS COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed an application for a writ of habeas corpus
in the 177th Judicial District Court of Harris County, that more than 35 days have elapsed, and that
the application has not yet been forwarded to this Court. The mandamus record contains
correspondence from the District Clerk stating that the writ application was filed on October 25,
2011. The record also contains an order designating issues signed on December 22, 2011. Based on
this record, it appears that the order was untimely and of no effect. DeJean v. District Clerk, 259
S.W.3d 183, 184 (Tex. Crim. App. 2008). 

	 In these circumstances, additional facts are needed. It appears that the Relator has filed an
11.07 application in this cause. If this is the case, the respondent, the District Clerk of Harris County,
is ordered to file a response, which may be made by submitting the record on such habeas corpus
application or submitting a copy of a timely filed order which designates issues to be investigated,
see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992). Should the response include an
order designating issues, proof of the date the district attorney's office was served with the habeas
application shall also be submitted with the response. This application for leave to file a writ of
mandamus shall be held in abeyance until the respondent has submitted the appropriate response. 
Such response shall be submitted within 30 days of the date of this order.



Filed: May 2, 2012

Do not publish	


